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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK



In Re: Motion to Quash Subpoena issued to
                                            -X


                                                 No.: 18-mc-
                                                                         18-3457
American Steamship Owners Mutual
Protection and Indemnity Association
dated December 17,2018.                                                  MATTSUMOTO, J.
                                            -X




                              MEMORANDUM OF LAW IN
              SUPPORT OF AMERICAN STEAMSHIP OWNERS MUTUAL
                PROTECTION AND INDEMNITY ASSOCIATION, INC.'S
                    MOTION TO OUASH SUBPOENA DUCES TECUM
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                                 PRELIMINARY STATEMENT

        Movant, American Steamship Owners Mutual Protection and Indemnity Association, Inc.

 (the "American Club"), respectfully submits this memorandum of law in support of its motion to

 quash the Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of

 Premises in a Civil Action, dated December 17,2018, (the "Subpoena") issued by Pacific Gulf

 Shipping Co. ("Pacific") pursuant to Rule 45(d) of the Federal Rules of Civil Procedure on the

 grounds that the Subpoena was not authorized by the United States District Court for the District

 of Oregon in the Supplemental Admiralty Rule B Attachment proceeding from which it was

 issued, is unduly burdensome, is impermissibly overbroad, fails to allow a reasonable time to

 comply, and seeks privileged and confidential documents and communications.

                                   FACTUAL BACKGROUND


        A.      Supplemental Admiralty Rule B Attachment


        On December 3, 2018, Pacific filed a Verified Complaint for Attachment of Vessel (In

 Admiralty) in the United States District Court for the District of Oregon in connection with the

 vessel VIGOROUS (the "Attachment Complaint") in the action entitled Pacific GulfShipping

 Co. v. Adamastos Shipping & TradingS.A., et al., Civil Action No. 3:18-cv-02076-MO. [Fromm

 Decl. f 3, Ex. B]1 The Complaint alleges that on April 7, 2017, a final arbitration award was

 issued against Adamastos Shipping & Trading S.A. ("Adamatos Shipping") and in favor of

 Pacific for breach of a charter party agreement involving the vessel ADAMATOS. [Id] The

 Complaint alleges that four companies are liable to it to satisfy a 2017 arbitration award:




 1Submitted herewith in support of the American Club's Motion to Quash Subpoena Duces Tecum are the
 Declaration of David H. Fromm dated December 27, 2018 ("Fromm Decl.") with exhibits and the
 Declaration of Donald R. Moore, dated December 26, 2018 ("Moore Decl.") with exhibit.
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 Adamastos Shipping, Blue Wall Shipping Limited ("Blue Wall"), Phoenix Shipping &Trading
 S.A. ("Phoenix"), and Vigorous Shipping &Trading S.A. ("Vigorous Shipping"). [Id.] The
 Complaint sets forth two Counts with respect to the application for attachment under

 Supplemental Admiralty Rule B, which are: (i) Recognition and Enforcement of the Arbitration

 Award under the New York Convention and (ii) Alter-Ego Liability. [Id.]

        On December 3,2018, the United States District Court for the District of Oregon issued

 an ex parte Order of Attachment for the M/V VIGOROUS, which was served on the M/V

 VIGOROUS shortly afterwards. [Fromm Decl. H4, Ex. C] As a result, the M/V VOGOROUS

 was arrested and detained in the Port of Longview and currently remains under arrest. On

 December 10, 2018, Vigorous Shipping, as owner of the attached vessel, filed a Motion to

 Vacate the Order Authorizing Issuance of Process of Maritime Attachment and Garnishment that

 was issued for the M/V VIGOROUS. [Fromm Decl. 1) 5, Ex. D] On December 12, 2018, the

 United States District Court for the District of Oregon heard oral argument on the Motion to

 Vacate and determined that the Motion to Vacate "will be taken under advisement pending

 further briefing." [Fromm Decl. H6, Ex. E at p. 5 (Dkt. # 36)]

        On December 13, 2018, Pacific filed "Plaintiffs Discovery Plan Proposal." [Fromm

 Decl. 17, Ex. F] In its proposed discovery plan, Pacific proposedthat it would serve Requests

 for Production of Documents and First Set of Interrogatories by December 14,2018 and that the

 depositions of George Gourdomichalis, Efstahios Gourdomichalis and corporate representatives

 of Vigorous Shipping, Phoenix and Blue Wall would proceed in Greece during the week of

 January 7-11, 2019. [Id. at pp. 1-2] Plaintiff also proposed that it "serve subpoena(s) on the

 insurance underwriters who hold entry for the M/V ADAMASTOS and the M/V VIGOROUS on

 or before Monday December 17, 2018." [Id. at p. 2, # 4]
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        On December 14,2018, Vigorous Shipping filed its "Response to Plaintiffs Discovery

 Plan Proposal." [Fromm Decl. U8, Ex. G] In its response, Vigorous Shipping specifically

 objected to "Plaintiffs request to issue subpoenas for documents to nonparty insurers as overly

 broad, unduly burdensome, as well as exceeding the scope of permissible discovery under the

 Federal Rules of Civil Procedure." [Id. at p. 2] In addition, Vigorous Shipping requested that the

 Court reject Plaintiffs proposed plan and limit discovery in this matter to Vigorous Shipping

 responding to Pacific's Requests for Production of Documents and First Set of Interrogatories

 and producing "a very large amount of documents responsive to Plaintiffs requests" pursuant to

 a protectiveorder. [Id. at pp. 3-4] Vigorous Shipping further requested that discovery be limited

 to it presenting George Gourdomichalis and Stathis Gourdomichalis for depositions on

 December 20, 2018 or December 22, 2018, in Athens, Greece. [Id.]

        On December 17, 2018, the Court issued an Order in connection with Pacific's Discovery

 Plan Proposal, which only authorized limited, expedited discovery for: (i) the production of

 documents as proposed by Vigorous Shipping and (i) the depositions of George and Stathis

 Gourdomichalis in Athens, Greece on or before December 22, 2018 as proposed by Vigorous

 Shipping. [Fromm Decl. H6, Ex. E at pp. 5-6 (Dkt. #41)] In particular, the Court stated that

                [a]s the protective order has been signed, Defendant is ordered to produce the
                documents references in its Exhibit 2 [38-2] and Plaintiff is ordered to hold the
                depositions of George and Stathis Gourdomichalis as discussed in Defendant's
                Response to Discovery 38 on or before 12/22/18. Following Defendant's
                production and Plaintiffs depositions, Plaintiff may submit a supplemental request
                for expedited discovery by 12/27/18 if necessary and the Court will rule
                immediately. [Id.]

 Notably, the Court did not permit or authorize Pacific to serve any subpoenas on the insurance

 underwriters for which Pacific requested and to which Vigorous specifically objected. [Id.]
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 Rather, the Court stated that Pacific could submit a request for supplemental expedited discovery

 on December 27, 2018, after the completion of the authorized depositions. [Id.]

         On December 18, 2018, Pacific filed an Emergency Motion to Extend the Deadline to

 Complete the Depositions of George and Stathis Gourdomichalis as set by the Court in its

 December 17, 2018 Order regarding Pacific's Discovery Plan Proposal. [Fromm Decl. f 9, Ex.

 H] In support of its emergency applicationto extend the deadline to conduct the depositions,

 Pacific noted that it needed time to "obtain responsive materials from the vessels' underwriters

 American Steamship Owners Mutual Protection and Indemnity Association Inc." [Id. at p. 4] In

 opposing Pacific's emergency motion, Vigorous Shipping argued that "Plaintiff counsel's

 unauthorized issuance of a subpoena to Vigorous Shipping's insurers is similarly no excuse for

 delaying the depositions. This Court has ruled that the permitted discovery will be truly

 expedited and limited in scope. This Court's order of December 17, 2018, (ECF No. 41) defined

 the permissible scope of document discovery prior to the depositions, and issuance of subpoenas

 for documents to nonparties was not included within that scope." [Fromm Decl. ^ 10, Ex. I at p.

 5] Tellingly, the District of Oregon denied Pacific's Emergency Motion to Extend the Deadline

 to Complete the Depositions of George and Stathis Gourdomichalis.2 [Fromm Decl. ^ 6, Ex. E at

 p. 6 (Dkt. # 54)]

         B.     The American Club


         The American Club is a not-for-profit mutual protection and indemnity insurance

 association that provides marine insurance to its vessel-owner and vessel-charterer members.

 [Moore Decl. ^ 4] The American Club is incorporated under the laws of the State of New York,

 with its principal place of business at One Battery Park Plaza, 31st Floor, New York, New York.


 2It is our understanding that the depositions of George and Stathis Gourdomichalis were conducted in
 Athens, Greece on December 20 and 21,2018.
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 SCB, the American Club's manager, also has its principal place of business at the same address.

 [Id.]

         The American Club is composed of "members" who operate as both the insurers and the

 insureds. [Moore Decl. \ 5] The American Club's members collectively agree to mutually

 indemnify each other regarding certain third-party liabilities arising from their ownership and/or

 operation of insured vessels. [Id] In order to fund these indemnities, the American Club

 members pay premiums and assessments as necessary and/or as determined and approved by its

 Board of Directors. [Id.]

         C.     The Subpoena


         On December 17, 2018, the American Club was served with the Subpoena in connection

 with the Pacific's Attachment Complaint calling for the production of documents on December

 31,2018. [Moore Decl. 1fl| 2, 7, Ex. A] The Subpoena seeks "any and all documents, materials,

 and items" from the American Club relating to the M/V ADAMASTOS and the M/V

 VIGOROUS covering a 5-year time period from January 1, 2014 to the present. [Moore Decl. f

 8, Ex. A] The M/V ADAMASTOS was entered as an insured vessel with the American Club for

 the 2012/13, 2013/14 and 2014/15 policy years, while the M/V VIGOROUS has been entered as

 an insured vessel with the American Club for the 2014/15, 2015/16, 2016/17, 2017/18 and

 2018/19 policy years. [Moore Decl. ffi[ 9-10]

         The American Club possesses numerous claims files and thousands of documents relating

 to these two vessels. [Moore Decl. Ill] These documents are located at American Club's

 offices in 4 countries and 5 cities: Greece, Shanghai, Houston, London and NewYork. [Id.]

 Some of the claim files contain correspondence from attorneys that provided legal advice

 concerning the claim and/or defense of the claim as well as documents from Shipowners Claims
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  Bureau, Inc. ("SCB"), the managers for the American Club, the American Club and others
  related to the investigation of the claim. [Moore Decl. 1ffi 1,12] In addition, the documents being

  sought by Pacific contain privileged and confidential information. [Moore Decl. ^ 11]

          As set forth below, since Pacific has no authority to issue the Subpoena, the American

  Club's motion to quash should be granted. Additionally, as set forth below, the Subpoena should

  be quashed because it is unduly burdensome and overbroad, does not affordthe American Club a

  reasonable amount of time to produce the documents and seeks confidential and privileged

  documents.


                                             ARGUMENT


                                                POINT I


                          THE SUBPOENA SHOULD BE QUASHED AS
               PACIFIC WAS NOT AUTHORIZED TO ISSUE THE SUBPOENA


          Under Federal Rule of Civil Procedure 26(d)(1), a party is precluded from seeking

  discovery from any source prior to a Rule 26(f) conference. It is undeniable that the parties have

  not held a Rule 26(f) conference in the Supplemental Admiralty Rule B Attachment proceeding

  from which the Subpoena was issued. The Federal Rules of Civil Procedure also provide that a

  party may engage in discovery before the Rule 26(f) conference if authorized by a court

  order. Fed. R. Civ. P. 26(d)(1). Here, the District of Oregon has permitted limited, expedited

  discovery to be conducted, but has not authorized Pacific to serve the Subpoena on the American

  Club.


          In particular, in its proposed discovery plan filed with the District of Oregon, Pacific

  specifically proposed and requested that it be permitted to "serve subpoena(s) on the insurance

  underwriters who hold entry for the M/V ADAMASTOS and the M/V VIGOROUS." [Fromm

  Decl. K7, Ex. F at p. 2, # 4] In its response to the proposed discovery plan, Vigorous Shipping
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  specifically objected to Pacific's "request to issue subpoenas for documents to nonparty insurers
  as overly broad, unduly burdensome, as well as exceeding the scope of permissible discovery

  under the Federal Rules of Civil Procedure." [Fromm Decl. H8, Ex. G at p. 2] In addition,

  Vigorous Shipping specifically requested that the Court reject Plaintiffs proposed plan and limit

  discovery in this matterto Vigorous Shipping responding to Pacific's Requests for Production of

  Documents and First Set of Interrogatories and producing "a very large amount of documents

  responsive to Plaintiffs requests" pursuant to a protective order as well as the depositions of

  George and Stathis Gourdomichalis being conducted in Athens, Greece on December 20, 2018

  or December 22, 2018, in Athens, Greece. [Id. at pp. 3-4]

         In addressing Pacific's proposed discovery plan, the District of Oregon issued an Order

  that provided for very limited and expedited discovery that closely tracked the discovery plan

  requested by Vigorous Shipping and not the discovery plan proposed by Pacific. [Fromm Decl. f

  6, Ex. E at pp. 5-6 (Dkt. #41)] Specifically, the Court ordered Vigorous Shipping to produce the

  documents that it had indicated it would produce pursuant to a protective order and that Pacific

  was to conduct the depositions of George and Stathis Gourdomichalis on or before December 22,

  2018, as requested by Vigorous Shipping, and not during the week of January 7-11, 2019, as

  requested by Pacific. [Id.] Moreover, the Court did not permit or authorize Pacific to serve any

  subpoenas on insurance underwriters for which Pacific specifically requested and Vigorous

  Shipping had objected. [Id.]

         In response to the Court's December 17, 2018 Order permitting extremely limited and

  expedited discovery, Pacific filed an emergency motion to extend the deadline to conduct

  depositions. [Fromm Decl. ^| 9, Ex. H] In support of its emergency motion, Pacific argued that it

  required additional time to obtain the documents that it has subpoenaed from the American Club.
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  [Id. at p. 4] Vigorous Shipping opposed Pacific's emergency motion noting that "Plaintiff

  counsel's unauthorized issuance of a subpoena to Vigorous Shipping's insurers is similarly no

  excuse for delaying the depositions" and that the "Court's order of December 17, 2018, (ECF

  No. 41) defined the permissible scope of document discovery prior to the depositions, and

  issuance of subpoenas for documents to nonparties was not included within that scope." [Fromm

  Decl. %10, Ex. I at p. 5] Tellingly, the District of Oregon denied Pacific's emergency motion.

  [Fromm Decl. %6, Ex. E at p. 6 (Dkt. # 54)]

         As a result, inasmuch as Pacific did not have any authority to issue the Subpoena, the

  Subpoena should be quashed.

                                              POINT II


                    THE SUBPOENA SHOULD BE QUASHED BECAUSE
                             IT IS UNDULEY BURDENSOME AND
                                 EXCEEDINGLY OVERBROAD


         Under Federal Rule of Civil Procedure 45, a party may obtain discovery of relevant

  material from a non-party "to the extent that it does not cause any 'undue burden or expense.'" In

  re Auto-Guadeloupe Investissement SA., 2012 U.S. Dist. LEXIS 147379, at *13 (S.D.N.Y.

  2012). Courts are especially sensitive to the burden imposed by discovery directed to non

  parties, such as the American Club. See In re BiovailCorp. Sees. Litig, 247 F.R.D. 72, 74

  (S.D.N.Y. 2007) ("where, as here, [discovery] is sought from third parties, the Court must weigh

  the probative value of the information against the burden of production on said non-parties").

  Moreover, the requesting party bears the burden of showing that the documents sought are

  relevant before production can be ordered. In re Auto-Guadeloupe Investissement S.A., 2012 U.S.

  Dist. LEXIS 147379, at* 13.

         As noted above, the Subpoena seeks all documents, all materials, all items, all records, aH



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  records, all correspondence, all communications from the American Club relating to the vessel
  M/V ADAMASTOS and the vessel M/V VIGOROUS from "January 1, 2014 to the present" - a

   period of 5 years. [Fromm Decl. Ex A; Moore Decl. Ex. A] It is clear that such abroadly
   sweeping subpoena is overbroad and should bequashed. Fed. R. Civ. P. 45(d)(3)(A)(iv); see

   Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44, 51 (S.D.N.Y. 1996) (granting motion to

   quash overbroad and unduly burdensome subpoena); Grigsby &Assocs. v. Rice Derivative

   Holdings, LP., No. 00 Civ. 5056 (RO), 2001 U.S. Dist. LEXIS 16112, at *11 (S.D.N.Y. Sept.

   21, 2001) (granting motion to quash non-party subpoena containing "non-specific, overbroad

   production requests"). Indeed, there is no valid reason why "all" of these documents have any

   relevancy to the dispute between Pacific and Adamatos.

          Moreover, it is unduly burdensome for the American Club to retrieve and review all of

   the claim files from Greece, Shanghai, Houston, London and New York as well as the additional

   documents requested in the Subpoena and then produce any and all non-privileged documents

   within the 14 day time frame provided by the Subpoena especially in light of Christmas and New

   Year's holidays. [Moore Decl. ^ 13]

          Additionally,most of the claim files are completely unrelated to allegations in Pacific's

   Complaint. For example, one of the claim files involving the M/V ADAMASTOS involves a

   crew member who died of a heart attack onboard the vessel in 2013, with the claim continuing

   into 2014. [Moore Decl. H14] Further examples of the overly broad and unduly burdensome

   nature of the Subpoena are that one of the claim files involves a survey of steel cargo in 2014,

   while another relates to the illness of a crew member of the M/V VIGOROUS, who contracted

   malaria in 2017. [Moore Decl. 1) 15] Accordingly, many of the claim files requested by Pacific,
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  which are located throughout the world in 4 countries and 5different cities, are clearly unrelated
  and not relevant to the allegations of Pacific's Complaint. [Moore Decl. HI 11, 13-15]

         As a result, the Subpoena should be quashed as it is overbroad and unduly burdensome.

                                             POINT III


                     THE SUBPOENA SHOULD BE QUASHED BECAUSE
                IT FAILS TO ALLOW A REASONABLE TIME TO COMPLY

         Pursuant to Federal Rule of Civil Procedure 45(d)(3)(A)(i), a court must quash or modify

  a subpoena that "fails to allow a reasonable time to comply[.]" Although the rule does not define

  reasonable time for compliance, "reasonableness seems to be related to the extent of the

  materials requested and the other underlying circumstances of the particular case." 9A C. Wright

  & A. Miller, Federal Practice & Procedure § 2463.1 at 520 (3d ed. 2008). Here, the

  Subpoena was served on the American Club on December 17, 2018, and calls for the production

  of "anyand all documents, materials, and items" from the American Club relating to the M/V

  ADAMASTOS and the M/V VIGOROUS on December 31, 2018. [Moore Decl. Tffl 7-8, Ex. A]

  The American Club possesses numerous claims files and thousands of documents relating to
  these two vessels. [Moore Decl. 1) 11] These documents are located at the American Club's

  offices in four countries and five cities: Greece, Shanghai, Houston, London and New York. [Id.]
  In addition, there is privileged and confidential information in the documents as many are

  insurance claim files which contain correspondence from attorneys thatprovided legal advice

 concerning the claim and/or defense of the claim as well as documents from SCB, the American

 Club andothers related to the investigation of the claim. [Moore Decl. H12]

         The Subpoena, however, onlyprovides for 14days in which to make production of

 documents that are located all over the world. Moreover, 5 of the 14 days are weekend days and



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  holidays and 2 ofthe remaining 9 days are Christmas Eve and New Year's Eve. [Moore Decl. 1
  13] Clearly, the Subpoena does not provide a reasonable period oftime to comply.
         As a result, the Subpoena should be quashed.

                                               POINT IV


                    THE SUBPOENA SHOULD BE QUASHED AS
          TO THE DOCUMENTS THAT ARE PRIVILIGED AND CONFIDENTIAL

         The Subpoena also seeks numerous American Club insurance claim files, which contain

  correspondence from attorneys that provided legal advice concerning the claimand/or defense of

  the claim as well as documents from SCB, the American Club and others related to the

  investigation of the claim. [Moore Decl. 1) 12] An insurer's claim files will be protected from

  discovery by a third party where they contain documents that are created in anticipation of

  litigation or involve attorney-client communications. See Weitzman v. Blazing Pedals, Inc., 151

  F.R.D. 125, 126 (D. Colo. 1993) (citingKandel v. Tocher, 22 A.D. 2d 513 (1964)) (holding that

  "[insurer's claim] files generated during the investigation of third party claims are made in

  anticipation of litigation and are not discoverable").

         Although courts do not recognize a perse insurer-insured privilege, communications

  between an insurer and its insured regarding legal matters will be privileged when they are

  created in anticipation of litigation or are attorney-client communications: "where the insured

  communicates with the insurer for the express purpose ofseeking legal advice with respect to a
  concrete claim, orfor the purpose ofaiding an insurer-provided attorney in preparing a specific
  legal case, the law would exalt form over substance ifitwere to deny application ofthe attorney-
 client privilege." Linde Thomson Langworthy Kohn &Van Dyke, P.C. v. Resolution Trust Corp.,
 5 F.3d 1508, 1515 (D.C. Cir. 1993); see also Calabro v. Stone, 225 F.R.D. 96, 98 (E.D.N.Y.
 2004); Am. Special Risk Ins. Co. v. Greyhound DialCorp., 1995 U.S. Dist. LEXIS 10387

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  (S.D.N.Y. 1995); Koramblyum v. Medvedovsky, 7Misc. 3d 1009(A) (N.Y. Sup. Ct. 2005).
          Here, as noted above, many ofthe documents requested from the American Club
  pursuant to the Subpoena are contained in the claim files and are attorney-client communications
  involving attorneys or are documents provided to assist these legal professionals in providing
  legal services and advice. [Moore Decl. 112] Thus, these documents are privileged and
   protected from production. Moreover, some ofthe documents requested contain insurance
  reserves and premium information. Insurance reserves are privileged information and precluded
   from discovery, as reserve figures are work product created in anticipation of litigation. See

   Sundance Cruises Corp. v. Am. Bureau ofShipping, No. 87 Civ. 0819 (WK), 1992 U.S. Dist.

   LEXIS 3759, at *2-3 (S.D.N.Y. Mar. 30,1992); Silva v. Basin Western, Inc., 47 P.3d 1184,1193

   (Colo. 2002) (reserve information not discoverable in action by third party). Likewise, premium

   information is confidential. See Nisselson v. DeWitt Stern Group, Inc. (In re Ufg Int'l), 225 B.R.

   51, 57 (S.D.N.Y. 1998).

          Accordingly, the Subpoena should be quashed as it seeks privileged and confidential

   information.




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                                            CONCLUSION


          For the foregoing reasons, the American Club's motion to quashPacific's Subpoena

  should be granted in its entirety, andthe Court should grant the American Club such further and

  different relief as is just and proper.

  Dated: New York, New York
         December 28,2018

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